Case 4:22-cr-00331-DPM   Document 85   Filed 04/25/25   Page 1 of 7
Case 4:22-cr-00331-DPM   Document 85   Filed 04/25/25   Page 2 of 7
Case 4:22-cr-00331-DPM   Document 85   Filed 04/25/25   Page 3 of 7
Case 4:22-cr-00331-DPM   Document 85   Filed 04/25/25   Page 4 of 7
Case 4:22-cr-00331-DPM   Document 85   Filed 04/25/25   Page 5 of 7
Case 4:22-cr-00331-DPM   Document 85   Filed 04/25/25   Page 6 of 7
Case 4:22-cr-00331-DPM   Document 85   Filed 04/25/25   Page 7 of 7
